
PER CURIAM.
1 rDenied. Relator’s insufficient evidence claim was fully litigated on appeal, and the interest of justice does not require the Court to revisit the issue here. La.C.Cr.P. art. 930.4(A). Further, relator fails to show that the district court erred by denying his motion for a new trial claim due to his failure to raise the claim on appeal. La.C.Cr.P. art. 930.4(C). Finally, relator fails to demonstrate that he received ineffective assistance of counsel under the standard set forth in Strickland v. Wash*1058ington, 466 U.S. 668, 104 S.Ct. 2052, 80 L.Ed.2d 674 (1984).
Similar to federal habeas relief, see 28 U.S.C. § 2244, Louisiana post-convictioñ procedure envisions the filing of a second or successive application only under the narrow circumstances provided in La. C.Cr.P. art. 930.4 and within the limitations period as set out in La.C.Cr.P. art. 930.8. Notably, the Legislature in 2013 La. Acts 251 amended the article to make the procedural bars against successive filings mandatory. Relator’s claims have now been fully litigated in accord with La.C.Cr.P. art 930.6, and this denial is final. Hereafter, unless he can show that one of the narrow exceptions authorizing the filing of a successive application applies, relator has exhausted his right to state collateral review.
